
Pursuant to the provisions of Article V, Section 4 of the South Carolina Constitution,
IT IS ORDERED that the Pilot Program for the Electronic Filing (E-Filing) of documents in the Court of Common Pleas, which was established by Order dated December 1, 2015, is expanded to include Union County. Effective March 20, 2018, all filings in all common pleas cases commenced or pending in Union County must be E-Filed if the party is represented by an attorney, unless the type of case or the type of filing is excluded from the Pilot Program. The counties currently designated for mandatory E-Filing are as follows:
Aiken Allendale Anderson Bamberg Barnwell Beaufort Cherokee Clarendon Colleton Edgefield Georgetown Greenville Greenwood Hampton Horry Jasper Kershaw Laurens Lee Lexington McCormick Newberry Oconee Pickens Saluda Spartanburg Sumter Williamsburg York Richland - Reinstated Effective March 8, 2018 Union - Effective March 20, 2018
Attorneys should refer to the South Carolina Electronic Filing Policies and Guidelines, which were adopted by the Supreme Court on October 28, 2015, and the training materials available on the E-Filing Portal page at http://www.sccourts.org/efiling/ to determine whether any specific filings are exempted from the requirement that they be E-Filed. Attorneys who have cases pending in Pilot Counties are strongly encouraged to review, and to instruct their staff to review, *879the training materials available on the E-Filing Portal page.
/s/ Donald W. Beatty
Donald W. Beatty
Chief Justice of South Carolina
